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10   Debtor and Debtor In Possession
11
                                 UNITED STATES BANKRUPTCY COURT
12
                                            DISTRICT OF NEVADA
13
14     In re:                                                 Case No. BK-22-11249-abl

15              NUVEDA, LLC, a Nevada limited                 Chapter 11 (Subchapter V)
                liability company,
16                                 Debtor.                    THIRD STATUS REPORT OF
                                                              SUBCHAPTER V DEBTOR
17                                                            PURSUANT TO 11 U.S.C. § 1188(c)
18                                                            Status Conference
19                                                            Date:       August 23, 2022
                                                              Time:       2:00 p.m.
20
21          NuVeda, LLC (the “Debtor”), debtor and debtor in possession in the above-referenced chapter
22   11 bankruptcy case (the “Chapter 11 Case”), respectfully submits this status report pursuant to 11
23   U.S.C. § 1188(c):
24                                             STATUS REPORT
25          1.        The Debtor continues to make progress with its reorganization plan since the last status
26   conference on July 27, 2022.
27          2.        On August 4, 2022, a hearing was held on the Debtor’s motion seeking sanctions for
28   violation of the automatic stay based upon actions taken by Dotan Melech, as Receiver for CW

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 1   Nevada, LLC, in pending state court litigation [Docket No. 63]. The Court took the matter under
 2   submission and set September 20, 2002 at 3:00 p.m. for an oral ruling.
 3          3.     On August 8, 2022, the Debtor filed its Objection [Docket No. 118] to the motion
 4   [Docket No. 69] (the “Creditor Dismissal Motion”) filed by Jennifer Goldstein to dismiss Debtor’s
 5   bankruptcy case. The Creditor Dismissal Motion was joined by Dotan Melech, as Receiver for CW
 6   Nevada, LLC, Shane Terry and Philip Ivey [Docket No. 85] and in part by the Cannabis Compliance
 7   Board [Docket No. 92].
 8          4.     After filing its limited joinder, the Cannabis Compliance Board subsequently filed a
 9   motion for declaratory relief (“Declaratory Relief Motion”) concerning the applicability of the
10   automatic stay to Clark NMSD, LLC (“Clark NMSD”) and Nye Natural Medicinal Solutions, LLC

11   (“Nye Natural”) [Docket No. 96]. Debtor responded to the Declaratory Relief Motion and confirmed
12   the automatic stay does not apply to Clark NMSD and Nye Natural [Docket No. 119].
13          5.     The Creditor Dismissal Motion originally was set for hearing on August 23, 2022 at
14   2:00 p.m. (concurrently with the scheduled Status Conference). However, on August 4, 2022, the
15   Office of the United States Trustee filed its own motion [Docket No. 111] (the “UST Dismissal
16   Motion”) to dismiss Debtor’s bankruptcy case.
17          6.     The UST Dismissal Motion is set for hearing on September 7, 2022 at 1:30 p.m.

18   Debtor intends to file its objection to the UST Dismissal Motion on or before August 24, 2022.
19          7.     The parties filed a stipulation [Docket No. 121] seeking to have the Creditor Dismissal
20   Motion and Declaratory Relief Motion [Docket No. 96] heard concurrently with the UST Dismissal
21   Motion on September 7, 2022.
22          8.     The Debtor does not oppose having the Status Conference continued and heard on
23   September 7, 2022 with the Creditor Dismissal Motion, Declaratory Relief Motion, and the UST
24   Dismissal Motion.
25          9.     On July 11, 2022, the Debtor filed its initial Plan of Reorganization [Docket No. 89].
26   The Debtor continues to discuss the Plan of Reorganization with its creditors and the Subchapter V
27   Trustee to determine the extent of modifications to be made prior to moving forward with the
28   solicitation and confirmation process. The Debtor intends to file an amended Plan of Reorganization

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 1   prior to the hearing on September 7, 2022.
 2          10.    On August 8, 2022, Joseph Kennedy, a managing member of the Debtor, participated
 3   in a mediation, with Ms. Goldstein. While good faith efforts were made to resolve Mr. Goldstein’s
 4   judgment against the Debtor, the mediation failed to produce any meaningful resolution.
 5          11.    The Debtor has previously filed its Monthly Operating Reports on time. The Monthly
 6   Report for July 2022 will be filed on August 23, 2022 by 5:00 p.m.
 7
 8   DATED this 23rd day of August, 2022.
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                                                    LAW OFFICE OF MITCHELL STIPP, P.C.
11
                                                  By:       /s/Mitchell Stipp
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